       Case 1:24-cv-03220-DLF          Document 15        Filed 02/03/25      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ELI LILLY AND COMPANY, et al.,

                  Plaintiffs,


       v.                                            Case No. 24-CV-3220 (DLF)


DOROTHY FINK, et al.,

                 Defendants.


                 ELI LILLY AND COMPANY’S AND LILLY USA, LLC’S
                        MOTION FOR SUMMARY JUDGMENT

       Under Federal Rule of Civil Procedure 56 and Local Rule 7(h), Plaintiffs Eli Lilly and

Company and Lilly USA, LLC (collectively, Lilly) respectfully request that this Court enter sum-

mary judgment in their favor and against Defendants.

       The Department of Health and Human Services (HHS), and its component agency, the

Health Resources and Services Administration (HRSA), acted unlawfully, in excess of statutory

authority, and arbitrarily and capriciously by adopting a policy forbidding implementation of re-

bate models without HRSA’s preapproval. HHS and HRSA further acted unlawfully, in excess of

statutory authority, and arbitrarily and capriciously by purporting to reject Lilly’s proposed 340B

cash-replenishment model.

       For these reasons and those provided in the accompanying memorandum, Lilly requests

that this Court enter summary judgment in its favor against Defendants; declare that Lilly’s pro-

posed 340B cash-replenishment model is lawful and can be implemented; vacate and set aside

HRSA’s policy forbidding implementation of rebate models without HRSA’s preapproval; vacate

and set aside HRSA’s September 18, 2024 letter to Lilly; and enjoin HHS and HRSA and any



                                                1
       Case 1:24-cv-03220-DLF         Document 15        Filed 02/03/25    Page 2 of 2




entities acting in concert with them from initiating or pursuing any enforcement actions against

Lilly in connection with its cash-replenishment model.

Dated: February 3, 2025                         Respectfully submitted,


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